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                                       UNITED STATES
                           SECURITIES AND EXCHANGE COMMISSION
                                 DENVER REGIONAL OFFICE
                            BYRON G. ROGERS FEDERAL BUILDING
                              1961 STOUT STREET, SUITE 1700
                              DENVER, COLORADO 80294-1961
 DIVISION OF                                                                           (303) 844-1041
ENFORCEMENT                                                                          millerte@sec.gov




                                       December 6, 2017



Honorable Denise Cote
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1610
New York, NY 10007


       Re:     SEC v. Alpine Securities Corporation
               Case No.: 1:17-CV-04179-DLC

Dear Judge Cote:

       Pursuant to the Court’s Individual Practices 3.F, Plaintiff the Securities and Exchange
Commission respectfully requests oral argument on its Motion for Partial Summary Judgment
(Doc. No. 68).

                                             Sincerely,

                                             /s/ Terry R. Miller
                                             Zachary T. Carlyle (pro hac vice)
                                             Terry R. Miller (pro hac vice)



cc:    All counsel of record
